                                                          FILED BY Page 1 D.
Case 0:23-cr-60189-KMM Document 3 Entered on FLSD Docket 10/05/2023       of C.
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                                                                             ANGELA E.NOBLE
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                           UN ITED STA TES D IST RICT C O U R T            s.D.oFFtk.-Fmnuo.
                           SOUTHERN DISTRICT OF FLORIDA

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                                    18U.S.C.j1343
                                    18U.S.C.j981(a)(1)(C)


 UNITED STATES O F AM ERICA

 V S.


 JEA N PIER R E-TO U SSA NT ,

               D efendant.


                                        IN D ICTM E NT

        The G rand Jury ehargesthat:

                                 G EN ER AL A LLEG A TIO N S

        Atalltimesrelevantto thislndictm ent:

                               TheSm allB usinessA dm inistration

        1.     The United States SmallBusiness Administration (CûSBA'') was an executive
 branch agency ofthe U nited States governm entthatprovided supportto entrepreneurs and sm all

 businesses. The m ission of the SBA was to m aintain atld strengthen the nation's econom y by

 enabling the establishment and viability of smallbusinesses and by assisting in the economic

 recovery ofcom m unities after disasters.

        2.      Aspartofthiseffort,the SBA enabled and provided loans through banks,credit

  unions,and otherlenders. Theseloanshad government-backed guarantees.
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                               The Paycheck Protection Program

               TheCoronavirusAid,Relief,andEconomicSeeurity(GûCARES'')Actwasafederal
 1aw enacted in oraround M arch 2020,designed to provide emergency financialassistanceto the

 m illions ofAmericanswho were suffering from the economic effects caused by the COV1D-19

 pandemic. One source of relief thatthe CARES Act provided was the Paycheck Protection

 Program (ûTPP''),which authorized forgivable loansto smallbusinessesforjob retention and
 certain otherexpenses.
               The SBA prom ulgated regulationsconcem ingeligibility foraPPP loan.Toobtain

 aPPP loan,aqualifyingbusinesswasrequiredtosubmitaPPP loanapplication,which wassigned

 by an authorized representative ofthe business. ThePPP loan application required the business

 (through its authorized representative) to acknowledge the program nzles and make certain
 affirmative certificationsto beeligibleto obtain thePPP loan,including thatthe businesswasin

 operation on February 15,2020,and either had em ployeesfor w hom it paid salaries and payroll

 taxesorpaid independentcontractors.Paymentsto independentcontractorsare typically reported

 to theInternalRevenue Serdce (ûtIRS'')on aûûF'ol'
                                                 m 1099-M lSC.'' ln thePPP loan application
 (SBA Form 2483),thesmallbusiness(throughitsauthorizedrepresentative)wasrequiredtostates
 amongotherthings,its:(a)averagemonthlypayrollexpensesorgrossincome;and(b)numberof
 em ployees. These figureswere used to calculate the nm otmtofmoney the smallbusinesswas

  eligibleto receiveunderthePPP.
                ln addition, a business applying for a PPP loan was required to provide

  docum entation show ing its payroll expenses. This payroll infonuation w as m aterial to the

  applieation because,pttrsuantto statutory requirem entsand im plem enting regulations.the am ount

  of the loan thattypically could be approved w as a function of the applicant's historicalpayroll
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 costs,consisting of com pensation to its em ployees whose principal place of residence w as the

 UnitedStates,subjecttocertain exclusions.
        6.      Individuals who operated a business under a çksole proprietorship'' business

 structurewere eligible fora PPP loan. To qualify forsuch a PPP loan,individualshad to report

 and docum ent their incom e and expenses from the sole proprietorship. Sole proprietorships

 typically reporttheirincome and expensesyearly to the 1RS on a ûtlëol'
                                                                      m 1040,Schedule C.''

 with otherPPP loans,this information and supporting docum entation wasused to calculate the

 am ountof m oney the individualw as entitled to receive underthe PPP. The m axim um PPP loan

 amountfora soleproprietorwith noem ployeeswas$20,833.
                PPP loan applicationswereprocessedby participating lendersandthird-party loan

 proeessors. lfaPPP loan application wasapproved,the participating lenderfunded thePPP loan

 using itsow n m onies. W hile itw asthe participating lenderthatissued the PPP loan,the loan w as

 100% guaranteed by the SBA . D ata from the application, including inform ation about the

 bonower,thetotalam ountoftheloan,andthelistednllm berofemployees,wastransmittedby the

 lenderto the SBA in the course ofprocessing the loarl.

         8.     A fter the lender funded the PPP loan to the borrow er, the lender subm itted

 disbursem entdetailsintotheSBA E--l-ran system with serverslocatedin Sterling,VA .TheSBA'S

 D enver Finance C enter, located in D enver, Colorado, created paym ent files and authorized

 paymentsofthe PPP processing feeto thelenderthrough the FinancialM anagementSystem of

 theU .S.Treasury.Theprim ary serverfortheFinancialM anagem entSystem wasin Sterling,VA .

  The PPP processing fee varied depending on the am ountofthe loan.Once created,the paym ent

  filesw erethen transm itted viaw ire to theU .S.Treasury disbursing officein K ansasCity,M issotlri,




                                                   3
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 which,in ttu'
             n,sentinstructions forpaym entoffunds to the FederalResel've Bank Automated

 Clearing Houseprocessing site in EastRutherford,New Jersey.
        9.     Theproceeds ofa PPP loan could be used only forcertain specified item s,such as

 payrollcosts,costsrelated to thecontinuation ofgroup health carebenetits,orm ortgage interest

 paym ents for the business. The proceeds ofa PPP loan were notpennitted to be used by the

 borrowertopurchaseconsumergoods,automobiles,personalresidences,clothing,orjewelry,to
 pay the borrower'spersonalfederalincom e taxes,orto fund the borrower'sordinary day-to-day

 living expensestmrelated to the specifiedauthorized expenses.

        10.     ThePPP allow edtheinterestand principalon thePPP loan to beentirely forgiven

 ifthe bonow er utilized 60% ofthe loan in the 24 w eekspost-disbursem enttow ard payrollcosts

 andutilizedtheremaining40% on qualitiedexpenseitems(e.g.,mortgage,rent,andutilities).
         11.    Applying forPPP loan fozgivenesswasa separateprocessthatrequired additional

 affirmationsthattheapplicantsatisfied theeligibility forPPP loanforgiveness. W hateverportion

 ofthe PPP loan w as notforgiven wasserviced asa 10m1.

                                         TheD efendant
                JEA N PIER R E-TO U SSA N T w asa residentofBrow ard County,Florida.

                                        R elevantLender

         13.    Lender 1wasaparticipating lenderin the PPP and wasbased in Phoenix,Arizona.

                                           C O UN T 1
                                          W ireFraud
                                       (18U.S.C.j1343)
                TheGeneralAllegationssedion ofthislndictmentisre-alleged and incop orated

  by reference asthough fully setforth herein.
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               From in or around A pril2021,through in or around October 2021,the exad dates

 being unknow n to the Grand Jury,in Brow ard County,Florida,in the Southern D istrictofFlorida,

 and elsewhere,the defendant,

                                 JEA N PIER R E-TO U SSA N T,

 did know ingly,and with the intentto defraud,devise,and intend to devise,a schem e and artifice

 to defraud, and to obtain money and property by m eans of materially false and fraudulent

 pretenses, representations, and promises, knowing that the pretenses, representations, and

 prom iseswerefalseand fraudulentwhenm ade,and,forthepurposeofexecutingthe scheme and

 artifice,did knowingly transm itand causeto betransmitted,by m eansofwire comm unication in

 interstatecomm erce,certain writings,signs,signals,pictures,and sounds,in violation ofTitle 18,

 U nited States Code,Section 1343.

                       PU RPO SE O F TH E SCH EM E AN D AR TIFICE

         16.    ltwasthepurpose ofthe schemeand artificeforthedefendanttounlawfully erlrich

 himselfby,amongotherthings:(a)submittingandcausingthesubmissionofafalseandfraudulent
 application for a PPP loan m ade available through the SBA to provide reliefforjhe econom ic

 effectscausedby theCOVID-19pandemic'
                                    ,and (b)submittingandcausingthesubmission ofa
 falseand fraudulentapplication forforgivenessofthePPP loan.

                                TH E SCH EM E A ND A R TIFICE

         The manner and m eansby which the defendantsoughtto accom plish the purpose ofthe

  schemeand artitk e included,am ong others,thefollowing:
                JEAN PIER R E-TO U SSA N T subm itted and caused the subm ission ofam aterially

  false and fraudulent application for a PPP loan to the SBA and Lender 1, which contained

  m aterially falseand fraudulentinform ation astothedefendant'sgrossrevenueand thepurposefor
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 the loan,am ong otherthings.
        18.      JEAN PIERRE-TOUSSANT submitted and caused the submission ofmaterially

 false and fraudulentinform ation and docum entation in supportofthe application forthe PPP loan,

 including falsitied lnternal Revenue Service tax form s,including a Schedule C, am ong other

 things.
           19.   Asaresultofthefalseand fraudulentPPP loan application subm ittedaspal4ofthis

 schem e,on or aboutM ay 28,2021,Lender 1 approved PPP loan num ber 1596259007 forJEA N

 PIERRE-TO USSANT and disbursed the loan proceedsintheapproxim ateam ountof$20,810 to
 JEAN PIERRE-TO USSANT atW ellsFargo bartk aceountnumberending in 6383 in thename

 ofJEA N PIERR E-TO USSA N T .
           20.   ln furtherance ofthe schem e and artifice,JEAN PIER RE -TO U SSAN T subm itted

 and caused thesubm ission ofm aterially falseand fraudulentinfonnation to the SBA and Lender

 1to cause and attemptto causetheforgivenessofPPP loan num ber1596259007to which JEAN

 PIER R E-TO U SSA N T w asnotentitled.

                 JEA N PIER R E-TO U SSA N T used the proceeds of the schem e and artifice to

 enrich him selfand notforqualified expenses tm derthe PPP.

                                         U SE O F W IR ES

           22.   On oraboutM ay 28,2021,inBroward County,Florida,in theSouthern Districtof

  Florida,and elsew here,the defendant,JEA N PIER R E-TO U SSA NT ,forthepurpose ofexecuting

  and in furtherance of the aforesaid schem e and artifice to defraud, and to obtain m oney and

  property by m eans ofm aterially false and fraudulentpretenses,representations,and prom ises,

  know ing thatthe pretenses,representations,and prom ises w ere false and fraudulentwhen m ade,

  did know ingly cause to be transm itted in interstate com m erce,by m eans ofw ire com m unication,
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 eertain m itings,signs,signals,pictures,and sounds,thatis,the transm ission ofan Autom ated

 Clearing House paym entin the amountofapproximately $20,810 from Lender1 to W ellsFargo
 accountnum ber ending in 6383,in the nam e ofJEA N PIE RR E-TO U SSA N T,in the Southern

 DistrictofFloridaandelsewhere.

        In violation of Title 18,U nited States Code,Section 1343.

                               FO R FEITUR E A LL EG A TIO NS

                The allegationsofthis lndictm entare hereby re-alleged and by thisreference fully

 incorporatedherein forthepurposeofalleging forfeittlretotheUnitedStatesofAm ericaofcertain

 property in w hich the defendant,JEAN PIER RE -TO U SSA NT ,has an interest.

                U pon conviction of a violation ofTitle l8,United States Code,Section 1343,as

 alleged in this lndictm ent,the defendant shallforfeitto the United States any property,realor

 personal,w hich constitutesorisderived from proceedstraceable to such offense,pursuantto Title

  18,United StatesCode,Section98l(a)(1)(C).
         Al1plzrsuantto Title 18,United StatesCode,Section981(a)(1)(C)andtheproceduresset
  forth in Title 21,U nited StatesCode,Section 853,asincorporated by Title 28,U nited StatesCode,

  Section2461(c).
                                                            A TRUE BILL
                                                                     !m       --1ï

                                 *
                                                            FORE/E SO

  /                ,                  ,
  M ARK EN Z LA PO IN TE
  1.+ 1     A S'A TTORN EY


        H A M ITRAN I
  A SS STAN T UN ITED STA TES ATTORN EY
  Case 0:23-cr-60189-KMM Document 3 Entered on FLSD Docket 10/05/2023 Page 8 of 9
                         UNITED STA TE S DISTR IC T C OU RT
                         SO UTH ERN DISTRICT O F FLORIDA

UNITED STA TES O F AM ERICA                        CA SE NO .:


                                                   CERTIFICATE OF TRIA L ATTOR NEY
JEAN PIERRE-TOUSSANT,
                                      /            Superseding Case lnform ation:
                D efendant.                        New Defendantts)(YesorNo)
CourtDivision (selectone)                          N um berofN ew D efendants
    EEIM iami     r Key W est D FTP                Totalnumberofcounts
    E FTL         D w PB

1do hereby certify that:
  1. Ihave carefully considered the allegationsofthe indictment,the numberofdefendants,the number ofprobable
       witnessesandthelegalcomylexitiesofthelndictment/lnformationattachedhereto.
       lam awarethattheinformatlon supplied on thisstatementwillberelied upon by theJudgesofthisCourtin setting
       theircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
       Intemreter:(YesorNo)No
       Listlanguage and/ordialect:

       Thiscasewilltake 3 daysforthepartiestotry.

 5.    Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                      (Checkonlyone)
       l ? 0to 5days                      L Petty
       11 n 6to 10 days                   D M inor
       llI L 11to20 days                  U M isdemeanor
       IV L 21to60 days                   M Felony
       V D 61daysand over
  6.   Hasthiscase been previously filed inthisDistrictCourt?(YesorNo)N0
       lfyes,Judge                                CaseN o.
  7. Hasacomplaintbeenfiledinthismatter?(YesorNo)No
       lfyes,M agistrate CaseN o.
  8. DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)No
       Ifyes,Judge                                 Case No.
  9. Defendantts)infederalcustodyasof
  10. Defendantts)in statecustodyasof
  11. Rule 20 from the               Districtof
  l2. lsthisapotentialdeathpenaltycase?(YesorNo)NO
  13. D oesthis case originate from am atterpending in the N orthel.n Region ofthe U .S.Attorney'sOffice
       priortoAugust8,2014(M ag.JudgeShaniekMaynard?(YesorNo)No
       Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sOffice
       priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No
       Did thism atterinvolvetheparticipation oforconsultation with now M agistrateJudgeEduardo 1.Sanchez
       during histenure atthe U .S.Attorney'sOffice,which concluded on January 22,2023? N O


                                                   By:
                                                               ha R .M itrani
                                                           AssistantUnited StatesAttorney
                                                           FL BarN o.         88171
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                           UNITED STATES DISTRICT COURT
                           SO UTH ERN DISTR ICT O F FLO R IDA

                                      PEN ALTY SHEET

 D efendant's N am e:JEAN PIERRE-TOU SSAN T

 Case N o:

 Count#:1

 W ire FraudsTitle 18.United States Code.Section 1343


 * M ax.Term oflm prisonm ent:20 years
 *M andatoryM in.Term oflmprisonm ent(ifapplicable):n/a
 * M ax.Supervised R elease:3 years
 * M ax.Fine:$250,000




   frRefersonly to possibleterm ofincarceration,supervised releaseand fines. Itdoesnotinclude
          restitution,specialassessm ents,parole term s,or forfeituresthatm ay beapplicable.
